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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION


 L. W., et al.,                                       )
                                                      )
                                Plaintiffs,           )
                                                      )
                           v.                         )      No. 1:21-cv-02397-JMS-MJD
                                                      )
 ROMAN CATHOLIC ARCHDIOCESE OF                        )
 INDIANAPOLIS, INC., et al.,                          )
                                                      )
                                Defendants.           )




                      MINUTE ENTRY FOR SEPTEMBER 8, 2022
                         TELEPHONIC STATUS CONFERENCE
                    HON. MARK J. DINSMORE, MAGISTRATE JUDGE


         The parties appeared by counsel for a telephonic Status Conference. The parties

 discussed the status of and future plans for discovery.

         This matter is scheduled for a telephonic status conference on Thursday, January 26,

 2023 at 11:30 a.m. (Eastern) to discuss case status. Counsel shall attend the status conference

 by calling the designated telephone number, to be provided by the Court via email generated by

 the Court's ECF system.



         Dated: 12 SEP 2022
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